Case 2:02-cr-20146-SH|\/| Document 140 Filed 07/14/05 Page 1 of 2 Page|D 94

 

IN THE: uNITEn sTATEs nrsTR:cc-r conner pub ay 967 Dc

FoR TH:E: wEsTERN DISTRICT oF TENNESSEE “"`" ` `

WESTERN DIVISION 05 JUL |l. AH": 03

UNITED sTATEs oF AMERICA, ` Ug gg',rgqp:fm|'cy
W Cf; €¢LHMS

Plaintiff,
V. CR. NO. 02-20146-Ma.
EULIBES CRUZ,

Defendant.

`I\-f\-IVV`J\-IV`J

 

ORDER DIRECTING CLER.K TO ISSUE WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
wednesdayl Julg 27f 2005 at 9:00 a.m. The defendant, Eulibes Cruz,
#18356-076, is confined as a prisoner at Federal Correctional
Institution, Forrest City, Arkansas. It is necessary to have Eulibes
Cruz appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the warden, Federal
Correctional Institution, Forrest City, Arkansas, to have said

Eulibes Cruz before this court for the hearing.

MM/wr__

SAMU'EL H. MAYS, JR..
UNITED STATES DISTRICT )J'U`DGE

/3’

July , 2005.

Thls document entered on the docket sh in co 11a
with Rule 55 andlor azlb) FHCrP on W”'

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
case 2:02-CR-20146 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

